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                                                        U.S. Department of Justice

                                                        Matthew M. Graves
                                                        United States Attorney

                                                        District of Columbia

                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530




                                                       April 20, 2022

Via FedEx

 Steven Metcalf II                                  Nayib Hassan
 Martin Tankleff                                    Sabino Jauregui
 99 Park Avenue, 6th Fl.                            6175 NW 153 St., Suite 209
 New York, NY 10016                                 Miami Lakes, FL 33014
 Counsel for Dominic Pezzola                        Counsel for Enrique Tarrio


                Re:    United States v. Ethan Nordean et al., Cr. No.: 21-cr-175 (TJK)

Dear Counsel:

       Please find enclosed an external hard drive that contains electronic media relating to the
events on January 6, 2021. The media was recorded by a documentary filmmaker and his
associates. Specifically, the enclosed hard drive contains 2,275 files. These materials were
provided to the other defendants in this case on September 21, 2022, as reflected in prior discovery
correspondence.

        These files have all been designated as Sensitive pursuant to the terms of the
Protective Orders entered in this case because at least some of the files contain contact
information for, photographs of, and private conversations with individuals that may not be related
to the criminal conduct in this case. See ECF 83 at ¶ 1.c.

       The government respectfully requests that you download the files to a local storage device
and return the external hard drive at your earliest convenience.

       We understand that our discovery obligations are ongoing and intend to supplement our
disclosures on a rolling basis. If you have any questions, please do not hesitate to contact us.
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                                    Sincerely yours,

                                    MATTHEW M. GRAVES
                                    UNITED STATES ATTORNEY

                             By:           /s/
                                    Luke M. Jones
                                    Jason B.A. McCullough
                                    Erik M. Kenerson
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